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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Steven F. Wolff
                                    Plaintiff,
v.                                                   Case No.: 1:16−cv−03348
                                                     Honorable Matthew F. Kennelly
Seedays (Illinois) LLC, et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 30, 2017:


        MINUTE entry before the Honorable Matthew F. Kennelly: Prove−up hearing
held on 3/30/2017. Default judgment to be entered against both defendants jointly and
severally in the amount of $92,241.74. Mailed notice. (pjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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